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                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

In re:                                                         Case No. 16-35630-KLP
         John Daniel Mangigian, Jr.

                     Debtor(s)


          CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Carl M. Bates, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 11/16/2016.

         2) The plan was confirmed on 05/11/2017.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
11/08/2018.

       4) The trustee filed action to remedy default by the debtor in performance under the plan on
06/20/2018.

         5) The case was converted on 11/14/2018.

         6) Number of months from filing to last payment: 22.

         7) Number of months case was pending: 24.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $192,700.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have not cleared the bank .



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Receipts:

           Total paid by or on behalf of the debtor                $9,636.00
           Less amount refunded to debtor                          $4,567.04

NET RECEIPTS:                                                                                      $5,068.96


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                   $4,500.00
    Court Costs                                                                 $0.00
    Trustee Expenses & Compensation                                           $568.96
    Other                                                                       $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                  $5,068.96

Attorney fees paid and disclosed by debtor:                      $630.00


Scheduled Creditors:
Creditor                                             Claim       Claim          Claim      Principal       Int.
Name                                      Class    Scheduled    Asserted       Allowed       Paid          Paid
Bassam Masselime                       Unsecured   155,000.00         NA             NA           0.00       0.00
Chippenham & Johnston-Willis Hospita   Unsecured     6,000.00         NA             NA           0.00       0.00
CJW Medical Center                     Unsecured     2,780.00    2,780.95       2,780.95          0.00       0.00
COMMONWEALT H OF VA                    Priority          0.00         NA             NA           0.00       0.00
Commonwealth Radiology P.C.            Unsecured          NA       101.19         101.19          0.00       0.00
FOCUSED RECOVERY SOLUT IONS            Unsecured     6,000.00         NA             NA           0.00       0.00
FOCUSED RECOVERY SOLUT IONS            Unsecured     2,780.00         NA             NA           0.00       0.00
Internal Revenue Service               Unsecured          NA     2,067.22       2,067.22          0.00       0.00
Internal Revenue Service               Priority      1,568.00   54,513.70      54,513.70          0.00       0.00
Marilynn A. Allen                      Unsecured     5,000.00         NA             NA           0.00       0.00
Nextraq                                Unsecured     4,000.00         NA             NA           0.00       0.00
North Star Mortgage                    Secured         455.00         NA             NA           0.00       0.00
Ortho Virginia                         Unsecured     2,703.00         NA             NA           0.00       0.00
OrthoVirginia, Inc.                    Unsecured          NA       753.37         753.37          0.00       0.00
OrthoVirginia, Inc.                    Unsecured          NA     4,555.36       4,555.36          0.00       0.00
T he Club Lake Gaston Resort           Unsecured     2,001.00         NA             NA           0.00       0.00
West End Orthopaedic Clinic            Unsecured     3,561.00         NA             NA           0.00       0.00
West End Orthopaedic Clinic            Unsecured     2,703.00    6,843.58       6,843.58          0.00       0.00




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 Summary of Disbursements to Creditors:
                                                                 Claim          Principal           Interest
                                                              Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                         $0.00               $0.00             $0.00
       Mortgage Arrearage                                       $0.00               $0.00             $0.00
       Debt Secured by Vehicle                                  $0.00               $0.00             $0.00
       All Other Secured                                        $0.00               $0.00             $0.00
 TOTAL SECURED:                                                 $0.00               $0.00             $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                            $0.00                $0.00             $0.00
         Domestic Support Ongoing                              $0.00                $0.00             $0.00
         All Other Priority                               $54,513.70                $0.00             $0.00
 TOTAL PRIORITY:                                          $54,513.70                $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                              $17,101.67                $0.00             $0.00

Disbursements:

         Expenses of Administration                              $5,068.96
         Disbursements to Creditors                                  $0.00

TOTAL DISBURSEMENTS :                                                                          $5,068.96


        12) The trustee certifies that the foregoing summary is true and complete and all administrative
matters for which the trustee is responsible have been completed. The trustee requests that the trustee
be discharged and granted such relief as may be just and proper.

Dated: 11/19/2018                              By: /s/ Carl M. Bates
                                                                          Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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